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                                                                                          2020 Jun-30 PM 04:45
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

    QUINCETTA Y. CARGILL,     )
                              )
         Plaintiff            )
                              )
    v.                        )                               Civil Action Number
                              )                            2:18-cv-00344-AKK-JEO
    JAIL ADMINISTRATOR HOUSE, )
    ET AL.,                   )
                              )
         Defendants.

                                          ORDER

       The magistrate judge filed a report recommending that the court construe the

defendants’ motion for summary judgment, see docs. 57; 61, 1 as a motion to dismiss

and grant the motion, dismissing Cargill’s complaint without prejudice pursuant to

42 U.S.C. § 1997e(a) for failing to exhaust administrative remedies. Doc. 65.

Alternatively, the magistrate judge recommended that the court grant the motion for

summary judgment and dismiss the action with prejudice. Id. Cargill objected to

both recommendations. Doc. 66.

       Cargill objects to the magistrate judge’s finding related to the failure to

exhaust her administrative remedies, stating for the first time that she complained

about the conduct when she arrived at the Shelby County jail. Id. at 1-4; see doc. 60.


1
 The magistrate judge previously construed Defendants’ special report, doc. 57, as a motion for
summary judgment. See doc. 61.
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But, even assuming this fact is true, that is not the same thing as filing a grievance

at or with the Clay County jail where the alleged conduct occurred. Cargill belatedly

asserts that the Clay County complaint kiosk operating hours “usually end at

10:00pm and begin against at approx[imately] 8:00am” but transport “occurs usually

between the hours of 4:30am and 5:30am,” and that she assumed the jail had

“constructive knowledge” of her contentions. Doc. 66 at 3. To the extent that Cargill

is implying that she did not have an opportunity to file a grievance between the

incident and her transport, the magistrate judge accounts for this inference: Cargill

knew how to use the grievance process, having “submitted two inmate request

forms” during her custody at Clay County Jail, and the Clay County grievance policy

allows “[g]rievances of any emergency nature [to be] made orally.” Doc. 65 at 11.

As the magistrate judge found, Cargill “provides no reason for not following [the

grievance policy],” including after her transfer to Shelby County. Id. Her claims are

due to be dismissed for failure to exhaust administrative remedies. 2

       After careful consideration of the record in this case, including the magistrate

judge’s report, the court hereby ADOPTS the magistrate judge’s report and



2
  Cargill would likely also fail at the summary judgment stage as she did not show “that the use of
force was objectively unreasonable and not related to legitimate penological and security
interests.” Doc. 65 at 18. Cargill does not address this finding in her objections, instead attempting
to allege new facts that she contends “were left out of the investigation and were expected to be
disclosed by the Clay County Jail.” Doc. 66 at 7. Because the court will dismiss the action for
failure to exhaust, it need not reach the merits of Cargill’s claim.
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ACCEPTS his recommendation.            Defendants’ motion to dismiss, doc. 57, is

GRANTED and the case is DISMISSED WITHOUT PREJUDICE for failure to

exhaust her administrative remedies.

      DONE the 30th day of June, 2020.

                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE
